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                  Exhibit 11
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                                                                        Page 1

 1                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
 2                               OAKLAND DIVISION
 3
 4       In re:     Google RTB Consumer )
                    Privacy Litigation        )
 5                                            )
                                              )
 6                                            )4:21-CV-02155-YGR-VKD
                                              )
 7                                            )
                                              )
 8                                            )
 9              DEPOSITION OF KIMBERLEY WOODRUFF, produced, sworn
10       and examined on May 4, 2023, between the hours of nine
11       o'clock in the forenoon and five o'clock in the
12       afternoon of that day, at the Courtyard by Marriott,
13       610 Bolivar Street, Jefferson City, Missouri 65101,
14       before Jeanne M. Pedrotty, a Certified Court Reporter
15       (MO) and Certified Shorthand Reporter (IL), in a
16       certain cause now pending in the United States
17       District Court, Northern District of California,
18       Oakland Division, in re:         Google RTB Privacy
19       Litigation; on behalf of the Defendant.
20
21
22
23
24
25           Job No. CS5895022

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 1                            A P P E A R A N C E S
 2
                     For the Plaintiffs:
 3
                          Jay Barnes
 4                        Jenny Paulson
                          Simmons Hanly Conroy
 5                        1 Court Street
                          Alton, IL 62002
 6
 7                   For the Defendant:
 8                       Kyle Wong
                         Cooley LLP
 9                       3 Embarcadero Center
                         San Francisco, CA 94111
10
11
12
                     Also present: Tim Perry, videographer
13
14
15
16       Court Reporter:
         Jeanne M. Pedrotty, CCR/CSR
17       Missouri CCR #618
         Illinois CSR #084-003893
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 1              IT IS HEREBY STIPULATED AND AGREED by and between
 2       counsel for the Plaintiffs and counsel for the
 3       Defendant that this deposition may be taken in
 4       shorthand by Jeanne M. Pedrotty, CCR/CSR, a Certified
 5       Court Reporter and Certified Shorthand Reporter, and
 6       afterwards transcribed into typewriting; and the
 7       signature of the witness is expressly reserved.
 8                            *       *       *       *      *
 9                     VIDEOGRAPHER:            Good morning.         We are on
10       the record at 9:47 on May 4th, 2023.                 This is Media
11       Unit 1 of the video recorded deposition of Kimberley
12       Woodruff taken by counsel for Defendant in the matter
13       of Google RTB Consumer Privacy Litigation filed in the
14       US District Court for Northern District of California,
15       Case No. 4:21-CV-02155.           This deposition is being held
16       at the Courtyard by Marriott at 610 Bolivar Street in
17       Jefferson City, Missouri.
18                     My name is Tim Perry, certified legal video
19       specialist.    Our court reporter is Jeanne Pedrotty and
20       we are with Veritext Legal Solutions.                   Counsel, will
21       you please identify yourselves for the record?
22                     MR. WONG:        Kyle Wong from Cooley LLP on
23       behalf of Defendants.
24                     MR. BARNES:         Jay Barnes from Simmons Hanly
25       Conroy on behalf of Ms. Woodruff and the punitive

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 1       which you were talking to Mr. Barnes you hadn't read
 2       Google's definition; is that correct?
 3                  A.   Correct.
 4                  Q.   So when you were talking to him and you
 5       felt that it was, quote/unquote, wrong for Google to
 6       share personal information, what did you mean by
 7       personal information?
 8                       MR. BARNES:     Objection to the extent it
 9       calls for expert opinion, legal conclusion and that
10       your answer would reveal content of privileged
11       communications with counsel.
12                       THE WITNESS:     I would consider personal
13       information -- at that time I considered it to be
14       anything that was personally linked to me.
15                  Q.   (By Mr. Wong)      What do you mean by
16       personally linked to you?
17                  A.   For example, my name, my e-mail address,
18       the address that identifies my computer.
19                  Q.   Anything else that you can think of?
20                  A.   As pertains to that conversation at that
21       time, that is what I had in my head.
22                  Q.   And has that definition changed over time?
23       I'm sorry, strike that.         Has that definition changed
24       since that time?
25                       MR. BARNES:     Objection; vague.           Calls for a

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 1       legal conclusion, expert opinion, and to the extent it
 2       reveals content of privileged communications.
 3                       THE WITNESS:      Can you repeat your question,
 4       please?
 5                  Q.   (By Mr. Wong)       Has that definition changed
 6       since that time?
 7                  A.   It has expounded -- expanded.
 8                  Q.   And what has it expanded to include?
 9                  A.   Personal information is also anything that
10       identifies me.       Anything that can be attached to
11       something else that can identify me.
12                  Q.   Can you give me an example?
13                  A.   My address, my phone number, my search
14       history, what I look at, what apps I use.                   That's all
15       personal to me.
16                  Q.   When you say, "search history", what do you
17       mean?
18                  A.   What I mean by search history is what I
19       look at on the internet.
20                  Q.   How do you browse the internet?
21                       MR. BARNES:      Objection; vague.
22                       THE WITNESS:      Through Google, Chrome,
23       usually those are the main two.
24                  Q.   (By Mr. Wong)       When you say, "Google", what
25       do you mean?

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 1                  Q.   I'm sorry.       Just so I can make sure, do you
 2       ever use your iPhone currently to surf the web?
 3                       MR. BARNES:        Objection; vague.
 4                       THE WITNESS:        To my best recollection, no.
 5       I just use it -- no, they use it.
 6                  Q.   (By Mr. Wong)         But you do still use it for
 7       applications that are on the phone?
 8                  A.   For one app, yes.
 9                  Q.   And what is that app?
10                  A.   Spades.
11                  Q.   Is that the card game?
12                  A.   Yes.
13                  Q.   Do you review filings in this case before
14       they are filed?
15                       MR. BARNES:        Objection; vague.
16                       THE WITNESS:        No.
17                  Q.   (By Mr. Wong)         Do you review filings after
18       they have been filed?
19                       MR. BARNES:        Objection; vague as to the
20       term, "filings".        It calls for a legal conclusion as
21       to the term, "filings".
22                       THE WITNESS:        Can you clarify what you mean
23       by "filings"?
24                  Q.   (By Mr. Wong)         Have you seen the complaint
25       in this case?

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 1                  A.   I have.
 2                  Q.   Have you seen any briefs with respect to
 3       motion to dismiss?
 4                  A.   Yes.
 5                  Q.   Do you know if you saw those before they
 6       were filed in court?
 7                       MR. BARNES:        Objection; compound; vague.
 8                       THE WITNESS:        I don't believe so.
 9                  Q.   (By Mr. Wong)         Did you collect any
10       documents in relation to this litigation?
11                  A.   Did I personally collect documents?
12                  Q.   Yes.
13                  A.   No.
14                  Q.   Did you give over your phone or your laptop
15       to someone affiliated with Mr. Barnes for that
16       purpose; to your knowledge?
17                  A.   Yes.
18                  Q.   And how about your e-mails, did you search
19       your e-mails for any documents relevant to this case?
20                  A.   No.    May I ask a question for clarity?
21                       MR. BARNES:        Well, objection; vague.
22       Mr. Wong, do you mean by, "searching," she manually
23       searched them or --
24                       MR. WONG:       Yes.
25                       MR. BARNES: -- as with your previous

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 1       question, there were others that used electronic means
 2       to search them?
 3                       MR. WONG:       Yes.
 4                       MR. BARNES:        You just mean the manual
 5       search?
 6                       MR. WONG:       Did she manual search?            Yes.
 7                       THE WITNESS:        No.
 8                  Q.   (By Mr. Wong)         Did you turn over the
 9       ability to access your e-mails to a third party so
10       that they could search your e-mails for this case?
11                  A.   Yes.
12                  Q.   What did you do -- I don't want to know the
13       substance of the discussions, but did you meet with
14       anyone to prepare for this deposition?
15                  A.   Yes.
16                  Q.   And who were those people?
17                  A.   I met with my attorney, Jay Barnes, I met
18       with another attorney -- another attorney by the name
19       of Ann Tran.      And there were other attorneys who maybe
20       observed, I can't remember their names.
21                  Q.   Do you know how many?
22                  A.   One that I can recall.
23                  Q.   And is your understanding that they are all
24       affiliated as attorneys for the plaintiffs in this
25       case?

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 1                  A.   Yes.
 2                  Q.   And how many times did you meet with any of
 3       your attorneys in preparation for this deposition?
 4                  A.   Does that include gathering information
 5       from my devices?
 6                  Q.   No.    Just actually preparing for the
 7       deposition.
 8                  A.   Okay.
 9                  Q.   For the expressed purpose of talking about
10       what would happen and going over questions, et cetera?
11                       MR. BARNES:        And you're doing a very good
12       job and he is doing a very good job not asking the
13       questions in a way that would cause you to reveal
14       the --
15                       THE WITNESS:        Yes.
16                       MR. BARNES:        -- but and so, I just want
17       to -- I feel like I need to say something because I
18       haven't objected enough yet, Kyle.                   So let's do a
19       clean record.        He is just talking about the number of
20       times -- go ahead and ask the question again.                     Sorry.
21                  Q.   (By Mr. Wong)         Where is that question?            How
22       many times did you meet with any of your attorneys in
23       preparation for this deposition?
24                  A.   To my best recollection, five to seven.
25                  Q.   And was that all over the past month?

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 1                  A.   No.
 2                  Q.   Do you know what the timeframe was for
 3       those meetings?
 4                       MR. BARNES:        Objection; vague as to
 5       "timeframe."
 6                       THE WITNESS:        Within the last three months.
 7                  Q.   (By Mr. Wong)         And for approximately how
 8       long did you actually meet with your lawyers; if you
 9       can estimate?
10                  A.   On average, 45 minutes to an hour.
11                  Q.   Without telling me the documents that you
12       reviewed, did you review any documents during your
13       preparation for this deposition?
14                  A.   Yes.
15                       MR. WONG:       And Jay, did all of those doc --
16       are all of those documents either produced in this
17       litigation or public?
18                       MR. BARNES:        Yes.
19                  Q.   (By Mr. Wong)         Have you discussed this
20       deposition with anyone other than your lawyers?
21                  A.   No.
22                  Q.   Do you know any of the other named
23       plaintiffs in this action?
24                  A.   I do not.
25                  Q.   Have you ever met them or spoken with them?

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 1                  A.   I have not.
 2                  Q.   What do you understand the term "class
 3       action" to mean?
 4                       MR. BARNES:      Objection to the extent it
 5       calls for a legal conclusion.             You may answer.
 6                       THE WITNESS:      To my understanding a class
 7       action is when a group of people are represented by
 8       lawyers to bring a case against someone who they feel
 9       has done them wrong.
10                  Q.   (By Mr. Wong)       And do you understand that
11       this litigation is a class action lawsuit?
12                  A.   I do.
13                  Q.   And do you understand that you're a named
14       plaintiff in this lawsuit?
15                  A.   I do.
16                  Q.   What does that term mean to you?
17                       MR. BARNES:      Objection; calls for a legal
18       conclusion.      You may answer.
19                       THE WITNESS:      That means to me that I am
20       bringing -- I'm one of the ones bringing the lawsuit.
21                       MR. BARNES:      Kyle, for what it's worth, not
22       withstanding our short break, I think we've been going
23       about an hour.       I don't know where you are in this
24       line of questioning.        I'm just putting it on your
25       radar.

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 1                       THE WITNESS:      Okay.
 2                       MR. BARNES:      Ms. Shah, please mute.            Thank
 3       you.
 4                       MR. WONG:     Okay.      Sorry.     Now I'm lost --
 5                       MR. BARNES:      You were on Paragraph 30 on
 6       Page 10.
 7                       MR. WONG:     No, Ms. Woodruff asked if I
 8       could --
 9                       MR. BARNES:      -- repeat the question and I
10       gave the soliloquy about reviewing the document, which
11       was --
12                  Q.   (By Mr. Wong)       Here we go.        So if someone
13       authorized the practices complained of, do you agree
14       they are not part of this group?
15                       MR. BARNES:      Same objection.
16                       THE WITNESS:      In my opinion, if they
17       knowingly authorized --
18                  Q.   (By Mr. Wong)       -- then they are not part of
19       the group?
20                  A.   Correct.
21                  Q.   When you say, "knowingly", what do you
22       mean?
23                  A.   If they gave their permission.
24                  Q.   And what is the ways that you think someone
25       gives their permission in this way?

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 1                        MR. BARNES:     Objection to the extent it
 2       calls for a legal conclusion.
 3                        THE WITNESS:     I don't know.
 4                  Q.    (By Mr. Wong)      You don't know what you mean
 5       by that?
 6                  A.    In my mind, if someone asked me a direct
 7       question:       Can I sell or share your personal
 8       information?       And I said, yes, that would be giving my
 9       permission.
10                  Q.    And if that ask was put into a written
11       agreement to which someone agreed, would you say then
12       that they had also given their permission?
13                        MR. BARNES:     Objection; calls for a legal
14       conclusion.       Assumes facts not in evidence.
15                        THE WITNESS:     As pertains to this lawsuit?
16                  Q.    (By Mr. Wong)      Yes.
17                  A.    As pertains to this lawsuit, Google
18       promised not to share or sell personal information, so
19       I don't know why they would ask permission to do so
20       when they promised that they wouldn't.
21                  Q.    Where did Google promise not to sell or
22       share personal information?
23                  A.    I read it in this complaint.
24                  Q.    Before you became a class -- or before you
25       became a named plaintiff, had you read the statements

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 1                  A.   What is it?
 2                  Q.   Uh-huh.
 3                  A.   A dispensary.
 4                  Q.   For?    Sorry, is it a dispensary for like --
 5       is it a pharmacy or is it like marijuana?                    I don't
 6       know.
 7                  A.   It's a medical use and recreational use
 8       dispensary.
 9                  Q.   I didn't know Missouri had legalized that.
10       Sorry, California did it 20 years ago, so I just
11       like -- I'm always like everywhere else I think you
12       guys haven't done it.           Sorry, that's why I had to ask.
13       Do you know about Christian books, do you know if you
14       have an account or maybe were a guest?
15                  A.   I don't remember.
16                  Q.   If you turn to Page 38, Paragraph 137.
17                       MR. BARNES:        Again, to the extent questions
18       are asked about this paragraph in this document,
19       please feel free to review the document and paragraph
20       surrounding it to the extent you feel necessary.
21                  Q.   (By Mr. Wong)         Did you review this
22       paragraph, including the chart, before the complaint
23       was filed?
24                  A.   No.
25                  Q.   What is your understanding of what this

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 1       chart says?
 2                       MR. BARNES:       Objection; calls for expert
 3       opinion.
 4                       THE WITNESS:       I don't know what this chart
 5       says exactly.        In my mind it says something that is
 6       requested in RTB.
 7                  Q.   (By Mr. Wong)        And what is RTB?
 8                  A.   Real-time bidding.
 9                  Q.   What does that mean to you?
10                  A.   That means that in the present time if I'm
11       on the internet, say for example, I go to a particular
12       website, in that time that I'm on that website that
13       Google is not only collecting my information for their
14       own use, but at the same time based on where I am,
15       they are also selling and sharing my information to
16       other companies without my permission.
17                  Q.   And can you tell me which field in this
18       chart you believe are private and personal information
19       that you believe that Google promised it would not
20       sell to other companies?
21                       MR. BARNES:       Objection; calls for expert
22       opinion; calls for a legal conclusion.
23                       THE WITNESS:       I can't tell what Google
24       considers what on this chart.
25                  Q.   (By Mr. Wong)        Well, I was asking what you

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 1                  A.   Okay.   Yes.
 2                  Q.   Are you alleging that you personally
 3       received any ads based on the categories that we just
 4       looked at?
 5                  A.   I didn't realize we were -- this case was
 6       about advertising, I thought it was about Google
 7       selling my personal information in RTB.
 8                  Q.   So do you believe that you have received
 9       any ads based on the categories that we just reviewed?
10                  A.   Again, I mean, this is talking about
11       targeted advertising and I thought we were talking
12       about real-time bidding.
13                  Q.   Okay.   Aside from that issue, do you -- can
14       you think of any advertisements that you have received
15       that relate to these issues that may be information
16       linked to your Google account that Google, you allege,
17       sold to third parties?
18                       MR. BARNES:      Objection; compound; vague.               I
19       make that objection, Mr. Wong, because I'm not sure
20       what the question was.         You can answer.
21                  Q.   (By Mr. Wong)       Do you have an answer?
22                       MR. BARNES:      Ms. Woodruff, I think we're --
23                       THE WITNESS:      I'm sorry, I didn't
24       realize -- I thought you said, asked and answered, and
25       I don't know what else to say, I mean, I answered it.

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 1                       MR. BARNES:      Objection; vague; calls for a
 2       legal conclusion.
 3                       THE WITNESS:      All I know is that I did not
 4       give Google permission to share or sell any of my
 5       information in RTB and something is going on to where
 6       I feel like my information is being shared because I'm
 7       getting advertisements and things from places,
 8       websites, companies that I've never visited.
 9                  Q.   (By Mr. Wong)       So if you visited the
10       website, then it doesn't -- that doesn't -- that's not
11       problematic for you.        So if you visit Nike.com and you
12       see an ad for Nike later, that's okay?
13                       MR. BARNES:      Objection.
14                       THE WITNESS:      It is less troublesome.
15                  Q.   (By Mr. Wong)       So for you, in this specific
16       example of the shoe, do you think Google is prohibited
17       from showing shoe ads based on activity on Google that
18       you did related to shoes?
19                       MR. BARNES:      Objection; vague; compound;
20       calls for a legal conclusion.
21                       THE WITNESS:      If it has anything to do with
22       Google selling or sharing my information in real-time
23       bidding without my permission, no, I don't think it's
24       right.
25                  Q.   (By Mr. Wong)       And is looking at Nike.com

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 1       going for an hour, so we can take a short break if we
 2       want, and then --
 3                       MR. BARNES:      Yeah, because I was --
 4                       MR. WONG:     We'll do a five-minute break,
 5       and then break for lunch at like 12:30 or 12:45.
 6                       MR. BARNES:      Does that work for you?
 7                       THE WITNESS:      Uh-huh.          Can we take a
 8       seven-minute break?
 9                       MR. WONG:     That's fine.           We can take a
10       eight minute.
11                       MR. BARNES:      Let's take a seven-minute
12       break, and then --
13                       VIDEOGRAPHER:       We're off the record at
14       11:51.
15                       (Whereupon, a short break was taken.)
16                       VIDEOGRAPHER:       We're back on the record.
17       This is Media Unit No. 4, the time is 12:08.
18                  Q.   (By Mr. Wong)       Ms. Woodruff, do you have a
19       Google account?
20                  A.   I do.
21                  Q.   Do you remember when you created it?
22                  A.   Not exactly.
23                  Q.   Can you give me a ballpark time?
24                  A.   Seven years ago.
25                  Q.   And do you have more than one Google

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 1       account?
 2                  A.   I do.
 3                  Q.   How many do you have total?
 4                  A.   Two, I believe.
 5                  Q.   And so let's go to the first one.               So you
 6       believe that you created that one about seven years
 7       ago?
 8                  A.   I think so.
 9                  Q.   And do you recall what your Gmail address
10       is associated with that account?
11                  A.                     @gmail.com.
12                  Q.   And then when did you create the second
13       account?
14                  A.   Probably not soon after that.              I don't know
15       exactly.
16                  Q.   And what is the Gmail address associated
17       with that account?
18                  A.               @gmail.com.
19                  Q.   Is there a reason you created two separate
20       accounts?
21                  A.   They were at two -- so I believe at the
22       time I did the                           was when I -- after I
23       left Missouri Faith Voices and I used it -- yeah, my
24       personal account.       And the other one was because I had
25       a Faith Voices account and I set that up as a personal

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 1                         THE WITNESS:     I think this statement is
 2       partially true.
 3                  Q.     (By Mr. Wong)      What do you think is true
 4       about it?
 5                  A.     I think that there are some things in here
 6       that personally identify who a person is.
 7                  Q.     And what would those be?
 8                  A.     I think that you are identified by your
 9       name, your e-mail address, your billing information. I
10       think that is true, but it is partial.
11                  Q.     So you think there is additional
12       information that this definition does not capture?
13                  A.     Absolutely.
14                  Q.     And which would be?
15                  A.     So personal information would be anything
16       that is associate -- as far as this case is concerned,
17       would be anything that is associated with my Google
18       account.        It would be my name, my e-mail address,
19       billing information.         It also includes device
20       identification information.             It also includes any
21       identifiers that can be linked with anything that
22       could personally identify me.
23                  Q.     So on Page 6 of this document, this is
24       one-third of the way down from the top of the page, it
25       says, "We use the information we collect to customize

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 1                       MR. BARNES:      Objection; asked and answered;
 2       calls for speculation and expert opinion; misleading
 3       summary of prior testimony; assumes facts not in
 4       evidence; misstates the nature of the complaint, and
 5       an incomplete hypothetical.
 6                       THE WITNESS:      For me, I would not have
 7       turned off anything that had to do with the ads
 8       because Google said it would not share or sell my
 9       personal information to other companies in RTB without
10       my permission.
11                       MR. BARNES:      We're all just assuming.
12       Mr. Wong, that when you get a new folder out --
13                       THE WITNESS:      When Mr. Wong pulls that
14       folder out it's time for a new exhibit.
15                       MR. BARNES:      We have a Pavlovian response
16       going on here.
17                       (Whereupon, Exhibit 10 was marked for
18       identification.)
19                  Q.   (By Mr. Wong)       Exhibit 10 is a document
20       produced by Plaintiff, Bates No. PLFSRTBWoodruff00 --
21       a lot of zeros, 31.       Ms. Woodruff, do you recognize
22       this document?
23                  A.   To me it looks like somebody took a
24       screenshot of when I was on the telephone.
25                  Q.   This is a screenshot to our understanding,

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 1       a screenshot of your account setting with respect to
 2       ad personalization.        Do you have any reason to believe
 3       that is not correct?
 4                  A.   I just wondered what the telephone was up
 5       there.      Okay.    Yes, that's correct.
 6                  Q.   And you see here that the ad
 7       personalization is on; do you see that?
 8                  A.   I do.
 9                  Q.   And I just wanted to make sure you have
10       never previously set it to off; is that correct?
11                  A.   I don't know why it was set to on.                 If I
12       buy a new phone and set up a new account, to me it's
13       off until I want it on, so I wouldn't know to go turn
14       it off.
15                  Q.   My question was whether or not, at any
16       prior point, you had turned it off?                 And the answer
17       is, no, I take it?
18                  A.   The answer is, no, I wouldn't know to turn
19       it off.
20                  Q.   And are you comfortable keeping this
21       setting on?
22                       MR. BARNES:       Objection -- excuse me,
23       objection; vague.
24                       THE WITNESS:       For me this would not concern
25       me.    My concern is about Google sharing and/or selling

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 1       my personal information to other companies without my
 2       permission.
 3                  Q.   (By Mr. Wong)       So do you understand that by
 4       having this on, information in your Google account can
 5       be used to show you more relevant ads including ads
 6       purchased by third parties on non-Google websites; do
 7       you understand that?
 8                       MR. BARNES:      Objection; vague; calls for
 9       speculation; assumes facts not in evidence; misstates
10       the nature of the complaint.
11                       THE WITNESS:      For me having this on is just
12       another indicator for me how Google tries to get
13       information without permission.               I did not turn that
14       on.
15                  Q.   (By Mr. Wong)       My question is, though,
16       knowing what you know, you don't object then to this
17       setting being on?
18                  A.   Knowing what I know, this setting has
19       nothing to do with the complaint.                  The complaint has
20       to do with Google selling and sharing my personal
21       information to hundreds of companies in RTB without my
22       permission.
23                  Q.   So if I'm correct and turning this off
24       would prevent Google from doing that, would you turn
25       it off?

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 1       Privacy Policy?
 2                       MR. BARNES:       Hold on.          Let me -- objection;
 3       calls for speculation; calls for a legal conclusion;
 4       asked and answered.
 5                  Q.   (By Mr. Wong)        Do you remember the sign-in
 6       -- do you remember the sign-in process you did to
 7       create an account at Staples?
 8                  A.   No.
 9                  Q.   So you can't say then for certain that you
10       did not agree, as part of that process, that you
11       cannot remember whether or not you agreed to the
12       Privacy Policy provided by Staples here, correct?
13                  A.   I don't remember.
14                       MR. BARNES:       Objection; asked and answered.
15                  Q.   (By Mr. Wong)        Do you believe you were
16       injured in some way by the conduct alleged in the
17       complaint?
18                       MR. BARNES:       Are you done with this
19       document?
20                       MR. WONG:      Yes.
21                       THE WITNESS:       I do.
22                  Q.   (By Mr. Wong)        And how so?
23                  A.   I believe that it is a crime and extremely
24       invasive and offensive when someone does something
25       with your personal information that you did not give

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 1       them permission to do.
 2                  Q.   And again, when you mean personal
 3       information was shared, you mean the information that
 4       we've discussed previously, your name, your address?
 5                  A.   When I talk about --
 6                       MR. BARNES:      Hold on.          Hold on.   Objection;
 7       vague; misstates the testimony.
 8                       MR. WONG:     That's not the question, but
 9       that's fine.      Can I --
10                       MR. BARNES:      Did you not get to -- did
11       you --
12                       MR. WONG:     I paused because I was trying to
13       come up with what else I was trying to say.
14                       (Multiple speakers talking at once.)
15                       MR. BARNES:      She started answering, which
16       triggered the objection.          So we'll start from scratch.
17                  Q.   (By Mr. Wong)       So when you're talking about
18       personal information, you're talking about your prior
19       answers about personal information, correct?
20                  A.   Correct.
21                  Q.   And can you identify what specific
22       information you believe was actually shared with third
23       party advertisers?
24                  A.   I can tell you what my personal information
25       includes.

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 1                       MR. BARNES:       Hold on -- objection; asked
 2       and answered.        Let's pause a beat, let me state my
 3       objections, and you can answer.
 4                       THE WITNESS:       Uh-huh.          I never saw an ad
 5       for an orthopedic shoe before I purchased an
 6       orthopedic shoe for my mom.
 7                  Q.   (By Mr. Wong)        Right, but you're saying,
 8       though, that the information shared wasn't just the
 9       fact of purchasing orthopedic shoes, it was your bank
10       account, and your e-mail address, and your name.                      I'm
11       trying to understand how you would know that -- that
12       information was shared rather than just the fact that
13       you had purchased an orthopedic shoe.
14                       MR. BARNES:       Objection; misstates the
15       testimony; asked and answered.
16                       THE WITNESS:       All of that was done on my
17       laptop, how else would it get to me?                   I didn't
18       purchase shoes from -- it was done on my laptop,
19       that's how I know.
20                  Q.   (By Mr. Wong)        Okay.      Do you believe you're
21       at risk of future harm from Google's practices?
22                       MR. BARNES:       Objection; vague.
23                       THE WITNESS:       I believe there is a
24       possibility, yes.
25                  Q.   (By Mr. Wong)        And what is that future

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 1       injury that you fear?
 2                  A.   I didn't say I feared anything.
 3                  Q.   What is the future injury that you believe
 4       you are at risk of?
 5                  A.   I am not certain.
 6                  Q.   Is it related to the sharing of your
 7       personal information with third parties?
 8                  A.   As far as Google is concerned, yes.
 9                  Q.   But you have not taken any steps since
10       filing the complaint to minimize the information or
11       eliminate the information that is shared by Google's
12       third parties; is that correct?
13                       MR. BARNES:        Objection; asked and answered.
14                       THE WITNESS:        Google promised not to do
15       that.
16                  Q.   (By Mr. Wong)         Aside from what Google did
17       or did not promise, I'm asking whether or not you have
18       taken any affirmative steps to eliminate or minimize
19       the information that Google shares with third parties?
20                  A.   Yes.
21                  Q.   And what have you done?
22                  A.   I'm a plaintiff in a lawsuit, a class
23       action suit against Google, hopefully to deter any of
24       this behavior in the future for myself or anyone else.
25                  Q.   But that hasn't changed the fact that you

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 1       are still searching the web, and browsing the web, and
 2       that information is allegedly still being shared by
 3       Google, correct?
 4                  A.   It is, yes.
 5                  Q.   So you haven't changed your browsing
 6       habits, correct?
 7                  A.   I have not.
 8                       MR. BARNES:      Objection; asked and answered.
 9                  Q.   (By Mr. Wong)       You have not changed your ad
10       personalization setting, correct?
11                       MR. BARNES:      Objection; asked and answered.
12                       THE WITNESS:      I don't know how.
13                  Q.   (By Mr. Wong)       You have not changed your
14       browser settings?
15                       MR. BARNES:      Objection; asked and answered.
16                       THE WITNESS:      I don't -- no, I have not.
17                  Q.   (By Mr. Wong)       Have you attempted to
18       quantify the amount of damages that you believe you
19       have suffered as a result of Google's conduct?
20                       MR. BARNES:      Objection; calls for expert
21       testimony.
22                       THE WITNESS:      I have not.
23                  Q.   (By Mr. Wong)       Do you think everyone in the
24       proposed class should get the exact same amount of
25       compensation in this case?

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 1                       MR. BARNES:        Objection; calls for
 2       speculation; calls for a legal conclusion; and calls
 3       for an expert opinion.
 4                       THE WITNESS:        In my opinion, I believe
 5       everybody represented is entitled to some sort of
 6       damages, but that's not up to me to determine.
 7                  Q.   (By Mr. Wong)         Why is it not up to you?
 8                  A.   I'm not the ruler in this case.
 9                  Q.   Who is?
10                  A.   The judge.
11                       MR. BARNES:        Objection; calls for a legal
12       conclusion; asking a lay witness who determines
13       damages is --
14                       MR. WONG:       Well, we can make an argument
15       about what people should and shouldn't do.                    She has a
16       lot of power as the plaintiff to do that.                    I think if
17       we take a five-minute break, I think I'm done with my
18       questions.      But if I can look at my outline --
19                       MR. BARNES:        Yeah.
20                       VIDEOGRAPHER:         We're off the record at
21       3:57.
22                       (Whereupon, a short break was taken.)
23                       VIDEOGRAPHER:         We are back on the record.
24       This is Media Unit No. 8.             The time is 4:06.
25                       MR. WONG:       I am done with direct.

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 1                                     EXAMINATION
 2       QUESTIONS BY MR. BARNES:
 3                  Q.   Thank you.       Ms. Woodruff, it's been a
 4       decently long day.         Do you recall earlier             -- by
 5       earlier I mean probably about six hours ago, Mr. Wong
 6       asked you a question about whether you had reviewed
 7       the complaint, and the motion to dismiss, and filings
 8       in this case before they were filed?
 9                  A.   I did.
10                  Q.   You do recall him asking that?
11                  A.   I do recall.
12                  Q.   And did you review the complaint before it
13       was filed in this case?
14                  A.   Yes.
15                  Q.   Did you review any motion to dismiss before
16       it was filed in this case?
17                  A.   Yes -- Motion to dismiss, no.
18                  Q.   Okay.     Sorry.      But complaint, yes?
19                  A.   Complaint, yes.
20                  Q.   And have you reviewed discovery filings in
21       this case?
22                  A.   Yes.
23                  Q.   Do you recall -- are you a lawyer?
24                  A.   I am not.
25                  Q.   Okay.     Prior to getting involved with this

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 1       information..."        I don't know.
 2                  Q.   Okay.
 3                  A.   I thought I could read it, but it got
 4       blurry again.        I'm sorry.
 5                  Q.   That's all right.          We're good.       Now it's
 6       official.
 7                       VIDEOGRAPHER:        We are off the video record
 8       at 4:12.
 9                       (WHEREIN, the deposition was concluded at
10       4:12.)
11
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 1                            CERTIFICATE OF REPORTER
 2       STATE OF MISSOURI       )
                                 ) ss.
 3       CITY OF ST. LOUIS       )
 4       I, Jeanne M. Pedrotty, a Certified Court Reporter (MO)
 5       and Certified Shorthand Reporter (IL), do hereby
 6       certify that the witness whose testimony appears in
 7       the foregoing deposition was duly sworn by me; that
 8       the testimony of said witness was taken by me to the
 9       best of my ability and thereafter reduced to
10       typewriting under my direction; that I am neither
11       counsel for, related to, nor employed by any of the
12       parties to the action in which this deposition was
13       taken, and further that I am not a relative or
14       employee of any attorney or counsel employed by the
15       parties thereto, nor financially or otherwise
16       interested in the outcome of the action.
17
18
                                 <%15330,Signature%>
19                               Jeanne M. Pedrotty
20
21
22
23
24
25

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 1       Jay Barnes Esq
 2       jaybarnes@simmonsfirm.com
 3                                      May 18th, 2023
 4       RE:        In Re: Google RTB Consumer Privacy Litigation v.
 5             5/4/2023, Kimberley Woodruff (#5895022)
 6             The above-referenced transcript is available for
 7       review.
 8             Within the applicable timeframe, the witness should
 9       read the testimony to verify its accuracy. If there are
10       any changes, the witness should note those with the
11       reason, on the attached Errata Sheet.
12             The witness should sign the Acknowledgment of
13       Deponent and Errata and return to the deposing attorney.
14       Copies should be sent to all counsel, and to Veritext at
15       (erratas-cs@veritext.com).
16
17        Return completed errata within 30 days from
18      receipt of testimony.
19          If the witness fails to do so within the time
20      allotted, the transcript may be used as if signed.
21
22                            Yours,
23                         Veritext Legal Solutions
24
25

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